EXHIBIT B
From: Jetrey €potein iS
Subject:
Date: July 25, 2012 at 2:54 PM
To: Deborah Anaya

Cc: Darren Indyke

DETECTIVE, | WILL BE STAYING IN SANTA FE, FOR APPROX THREE WEEKS STARTING NEXT MONDAY THE 30. TH

 

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From: Jeftrey Epotein i
Subject:
Date: July 30, 2012 at 10:27 PM
To: Deborah Anaya
Ce: Darren Indyke

| arrived today in new mexico will be in and out of the state for the next month. hope things are well

 

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From: Jeffrey Epstein [is
Subject:
Date: September 14, 2012 at 10:13 PM
To: Deborah Anaya
Ce: Darren Indyke

out of an abundance of caution , i write to tell you that i arrived in new mexico. and will leave on tues the 18th,, hope you are well

 

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From: Jefrey Epetein

Subject:
Date: February 23, 2013 at 8:52 AM
To; Deborah Anaya
Ce: Darren Indyke

i will be in new mexico , 23-25 hope you are well

 

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From: Jottrey Epetoin
Subject:
Date: April 25, 2013 at 7:09 PM

To: Deborah Anza i Oaren incyc iy

i will be in new mexico for four days, hope you are well

 

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From: Jeffrey Epstein [is
Subject: sex regi
Date: December 18, 2013 at 6:30 PM

To: Deborch Aray2 i oro iyo

happy holiday,
again out of an abundamce of caution please be advised that | will be in new mexico for the week of 20-28 happy holiday

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From: jeftrey € ay
Subject:
Date: July 31, 2015 at 11:25 AM
To: Deborah Anaya
Cc: Darren Indyke

As an extra precaution | am letting you know that | will be on my ranch for the month of August . Hope you are well

please note
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JEE
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